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   8                           UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
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  11   TOMMY LEE WILEY, III,                           Case No. CV 19-1837 MWF (PVC)
  12                       Plaintiff,
                                                       ORDER ACCEPTING FINDINGS,
  13         v.                                        CONCLUSIONS AND
                                                       RECOMMENDATIONS OF UNITED
  14   CORRECTIONAL OFFICER ROSALES,                   STATES MAGISTRATE JUDGE
       et al.,
  15
                           Defendants.
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  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the First Amended Complaint
  18   in the above-captioned matter, Defendants’ Motion to Dismiss, all the records and files
  19   herein, the Report and Recommendation of the United States Magistrate Judge, and
  20   Plaintiff’s so-called “Second Amended Complaint,” (Dkt. No. 43), which the Court
  21   construes as objections to the Report and Recommendation. After having made a de novo
  22   determination of the portions of the Report and Recommendation to which objections
  23   were directed, the Court concurs with and accepts the findings and conclusions of the
  24   Magistrate Judge.
  25         IT IS ORDERED THAT:
  26         1.     Defendants’ Motion to Dismiss (Dkt. No. 33) is GRANTED IN PART AND
  27   DENIED IN PART. The First Amended Complaint is dismissed for violations of Federal
  28   Rules of Civil Procedure 8 and 12(b)(6), but with leave to amend. Dismissal is without

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   1   prejudice to Defendants’ right to assert a qualified immunity defense in subsequent
   2   proceedings.
   3          2.      Plaintiff is ORDERED to file a “Revised” Second Amended Complaint
   4   within thirty days of the date of this Order if he wishes to pursue his claims. A blank
   5   form civil rights complaint is attached for Plaintiff’s convenience. If Plaintiff fails to
   6   file a “Revised” Second Amended Complaint by the Court’s deadline or notifies the Court
   7   within the same period of his election to stand on the claims in the defective First
   8   Amended Complaint, this action will be dismissed with prejudice without further notice.
   9          The Clerk shall serve copies of this Order on Plaintiff at his address of record and
  10   on counsel for Defendants.
  11          IT IS SO ORDERED.
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  13   DATED: October 2, 2020
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                                                         MICHAEL W. FITZGERALD
  15                                                     UNITED STATES DISTRICT JUDGE
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